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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


TONYA CLAY, et al.,                            Case No. 1:18 CV 2929

        Plaintiffs,                            Judge Solomon Oliver, Jr.

-vs-

CUYAHOGA COUNTY, et al.,

         Defendants.


   JOINT STATUS REPORT CONCERNING SETTLEMENT NEGOTIATIONS PROCESS



       Plaintiffs and the Cuyahoga County Defendants (“Parties”) now submit this

joint report of the status of the settlement negotiations. Since our last status

conference, the parties have continued to make significant progress in their work to

finalize the terms of the settlement agreement, which included revising jail policies

and handbooks that will be incorporated into the settlement agreement. The parties

require two additional weeks to finalize these arrangements and present the

agreement to County Council. This settlement will be presented to County Council

on February 13, 2024.

       The settlement process is proceeding well and, in spite of this delay, the parties

do not anticipate any problems. The parties request that the Court vacate the status

hearing set for tomorrow and reset for a date after February 13, 2024.
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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2024 a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all registered parties by operation
of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

                                         /s/ Sarah Gelsomino
                                         Sarah Gelsomino (0084340)
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